                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE


 TRACY ANDRIANO,                                  )   Docket No. 3:15-CV-0863
                                                  )
      Plaintiff,                                  )
                                                  )   JUDGE CRENSHAW
 v.                                               )   MAGISTRATE JUDGE HOLMES
                                                  )
 TYSON FOODS, INC.,                               )   JURY DEMAND
 TYSON FRESH MEATS, INC.,                         )
 a subsidiary of Tyson Foods, Inc.                )
                                                  )
      Defendants.                                 )


                             JOINT NOTICE OF SETTLEMENT

         The parties hereby notify the Court that they have reached a settlement of the issues in

this case. The parties are in the process of drafting formal settlement documents and will

promptly file a stipulation of dismissal after the documents have been executed.


                                             Respectfully submitted,


                                             /s Kenneth A. Weber
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                                             Megan M. Sutton, BPR No. 029419
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                                             Attorneys for Plaintiff




                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2017, a copy of the foregoing Joint Notice of Settlement
was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will be
served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
system.

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                                             /s Kenneth A. Weber




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